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19
                                 UNITED STATES DISTRICT COURT
20
                              NORTHERN DISTRICT OF CALIFORNIA
21
                                     SAN FRANCISCO DIVISION
22
     IN RE GOOGLE PLAY STORE                         Case No. 3:21-md-02981-JD
23   ANTITRUST LITIGATION
24   THIS DOCUMENT RELATES TO:                       NOTICE OF FILING OF STATEMENTS
                                                     OF MATTHEW GENTZKOW AND
25                                                   GREGORY K. LEONARD IN RESPONSE
     Epic Games Inc. v. Google LLC et al., Case
                                                     TO EPIC’S PROPOSE INJUNCTION
26   No. 3:20-cv-05671-JD

27                                                   Judge: Hon. James Donato

28
          NOTICE OF FILING OF STATEMENTS OF MATTHEW AND GENTZKOW AND DR. GREGORY K. LEONARD
                                 IN RESPONSE TO EPIC’S PROPOSED INJUNCTION
                                     Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
              Case 3:20-cv-05671-JD Document 655 Filed 05/02/24 Page 2 of 3




 1          Pursuant to this Court’s Order dated March 21, 2024, In re Google Play Store Antitrust

 2   Litigation, No. 3:21-md-02981-JD (N.D. Cal.) (“MDL”) (ECF No. 951), Defendants Google LLC,

 3   Google Ireland Limited, Google Commerce Ltd., Google Asia Pacific Pte. Ltd., and Google Payment

 4   Corp. (collectively, “Google”), by and through their undersigned counsel, submit attached as Exhibit 1,

 5   Statement of Matthew Gentzkow In Response to Epic’s Proposed Injunction, and Exhibit 2, Statement

 6   of Dr. Gregory K. Leonard In Response to Epic’s Proposed Injunction.

 7

 8            Dated: May 2, 2024                 MORGAN, LEWIS & BOCKIUS LLP
                                                   Sujal J. Shah
 9
                                                   Brian C. Rocca
10                                                 Michelle Park Chiu
                                                   Minna L. Naranjo
11                                                 Rishi P. Satia
12                                               Respectfully submitted,
13                                               By: /s/ Sujal J. Shah
14                                                  Sujal J. Shah

15                                                   Counsel for Defendants Google LLC et al.

16            Dated: May 2, 2024                 MUNGER, TOLLES & OLSON LLP
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                                                    Dane P. Shikman
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                                                    Jonathan I. Kravis
20                                               Respectfully submitted,
21                                               By: /s/ Justin P. Raphael
                                                    Justin P. Raphael
22

23                                                   Counsel for Defendants Google LLC et al.

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           NOTICE OF FILING OF STATEMENTS OF MATTHEW AND GENTZKOW AND DR. GREGORY K. LEONARD
                                  IN RESPONSE TO EPIC’S PROPOSED INJUNCTION
                                      Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
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               Case 3:20-cv-05671-JD Document 655 Filed 05/02/24 Page 3 of 3



                                           E-FILING ATTESTATION
 1

 2          I, Glenn D. Pomerantz, am the ECF User whose ID and password are being used to file this
 3   document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that each of the signatories
 4   identified above has concurred in this filing.
 5

 6                                                      /s/ Glenn D. Pomerantz
                                                        Glenn D. Pomerantz
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                  NOTICE OF FILING OF DECLARATION OF DR. GREGORY K. LEONARD IN RESPONSE TO
                          COURT’S ORDER RE DR. SINGER’S PROPOSED EXPERT TESTIMONY
                                      Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD
                                                        2
